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                                UNITED STATES DISTRICT COURT
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                               WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
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10
        UNITED STATES OF AMERICA,                           CASE NO. 22-CV-00485-LK
11
                               Plaintiff,                   ORDER GRANTING STIPULATED
12              v.                                          MOTION TO UNSEAL
13      THE BOEING COMPANY,
14                             Defendant.

15

16          Before the Court are Defendant Boeing Company’s Unopposed Motion for Leave to File

17   Portions of Its Motion to Dismiss and Exhibits Under Seal, Dkt. No. 27, and the parties’

18   subsequently filed Stipulated Motion to Unseal Portions of Boeing’s Motion to Dismiss and

19   Documents Filed Under Seal, Dkt. No. 36. The parties now agree that the redacted information

20   and sealed documents previously at issue do not need to be shielded from the public. Dkt. No. 36

21   at 2. Pursuant to the parties’ stipulation, the Court ORDERS as follows:

22          (1) The Clerk shall UNSEAL Boeing’s Motion to Dismiss. Dkt. No. 30.

23          (2) The Clerk shall UNSEAL Exhibits A, B, and C, which are attached to the Declaration

24              of Marten King in Support of The Boeing Company’s Request for Judicial Notice. Dkt.


     ORDER GRANTING STIPULATED MOTION TO UNSEAL - 1
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 1            Nos. 33–35.

 2         (3) Boeing’s Unopposed Motion for Leave to File Portions of Its Motion to Dismiss and

 3            Exhibits Under Seal is DENIED as moot. Dkt. No. 27.

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 5         Dated this 26th day of September, 2022.

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                                                     A
 7                                                   Lauren King
                                                     United States District Judge
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     ORDER GRANTING STIPULATED MOTION TO UNSEAL - 2
